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                                EXHIBIT R
                                  Footnote 30
   TrialSiteNews: “The COVID-19 spike protein may be a potentially unsafe toxic
                            endothelial pathogen”
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The COVID-19 spike protein may be a potentially
unsafe toxic endothelial pathogen

            PaulAlexander
                                                                                              17 Comments
            June 1, 2021




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Paul Elias Alexander, PhD; Parvez Dara, MD, MBA; Howard Tenenbaum, DDS, PhD



We raise the specter of harm from the vaccines in children and adolescents. We are scientists and
prognosticators who believe in the science of pre-existing vaccines that have undergone rigorous
pretesting prior to human exposure. We have very serious concerns about these COVID-19 vaccines
especially given escalating adverse effects being reported in the CDC’s VAERS vaccine adverse
event database, the European vaccine adverse event reporting database, and the evidence in the
general media. The reports of several thousand deaths post vaccine that appear temporally linked to
the vaccines are very alarming. We are raising the alarm and call for urgent examination.
     Case
We also    2:22-cv-00149-DAK-DBP
        raise                         Documentwomen
              these risk concerns for pregnant 2-19 Filed 03/04/22
                                                    who must        PageID.149
                                                               only be           Page
                                                                       administered   3 of
                                                                                    safe   30 or
                                                                                         drugs
vaccines. We never ever administer an untested biological substance to a pregnant woman. There
could be no exception to this and we are very concerned by the administration of these vaccines to
pregnant women. They are very concerning risks to these COVID-19 vaccines and we are referring to
not just immediate risks, but the long-term ones that would emerge in years to come e.g.
autoimmune disorders etc. We just do not have the required long-term safety data for the vaccines
and this worries us immensely. The reality is that we strongly support vaccines that are ‘properly’
developed, and we are not anti-vaxxers.



We have always argued for a ‘focused’ approach that is stratified based on age-risk targeting,
recognizing that COVID-19 operates based on age and risk. A ‘one-size-fits-all’ approach is
suboptimal and does not work. We continue to fail to strongly protect the high-risk among us
(elderly, elderly with co-morbid conditions etc.) while restricting the ‘well’ and ‘low-risk’ healthy
persons in our populations with policies that have had devastating societal consequences beyond
what could have been caused by the pathogen on its own. Outcomes once infected, has less to do
with the virus itself and more to do with one’s baseline risk. Age, obesity, diabetes etc. are the key
risk factors. Obesity particularly emerged as a super loaded factor.



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We have harmed our children for decades to come by these unscientific, illogical, irrational,
ridiculous, and absurd school closures policies and it is the very poor children (minority, African-
American, Latino, South Asian/South East Asian) who have fared worst of all. Working women have
fared worst of all also, especially minority women. They were least able to afford the lockdowns and
school closures that the ‘lap-top’ class could. Shame on all of our governments and their unsound,
academically sloppy so called ‘medical advisors’ who exhibited a depth of cognitive dissonance to
any science or evidence that misaligned with their specious edicts and policies. Shame on our
government agencies such as the CDC, FDA, and NIH who have been wrong on virtually everything
COVID-19 related. Shame on Dr. Anthony Fauci for his nonsensical, often inaccurate statements and
flip-flops that left the nation so very confused. They have all failed!
     Case
Before     2:22-cv-00149-DAK-DBP
       focusing on the vaccine safetyDocument
                                     concerns,2-19 Filed
                                              we call into03/04/22  PageID.150
                                                           question the           Page 4 ofof30the
                                                                        true effectiveness
vaccines and the reported estimates of effect. In the Phase I/II trial analyses, the efficiency of the
mRNA vaccines were reported as 95%. The implications were derived from a Relative Risk Reduction
(RRR). If the real numbers are used to determine the Absolute Risk Reduction (ARR), then the results
are a paltry 0.8%. Had the ARR been published, then a different picture would have emerged as to
the effectiveness, and why one would accept a vaccine with such low indications of benefit, and
while as we are now learning, potential harms?



This was terribly deceitful by the CDC, NIH, Dr. Anthony Fauci etc. and pharmaceuticals, as well as all
who touted the RRR of 95% knowing it is not reflective of the effectiveness in a meaningful manner,
and which could optimally inform the public. It is the ARR that is meaningful for the public for their
decision-making.



Shame also on all of the medical establishment cartel, the academic scientists, and regulators such
as the FDA and agencies like the NIH who have prevented the use of early treatment for high-risk
patients. They know these drugs work yet have let hundreds of thousands (at least 80%) die
needlessly. People have died being denied access to safe, effective, cheap, and available
therapeutics. We knew that if you start treatment early, you could save the patient. You could stop
hospitalization and death by as much as an 85% reduction in risk. But the medical community settled
into a group think of therapeutic nihilism. Doctors should have stood up and be brave, and exercised
their clinical discretion and judgement. They should have used an empirical approach as they usually
do. They should have trusted their clinical judgement and treat their patients who were scared and
needed help, not just to send them home to ‘wait-and-see’ and ‘worsen in place’, and only come see
me again (or go to the emergency room) when you cannot breathe properly or have seizures etc. It is
often too late by then, and way more complex to treat. This was a massive blunder and will go down
as one of the greatest public health disasters in history, along with the catastrophic failures of
lockdowns and school closures and mask mandates, and with the potentially unsafe vaccines we will
now discuss.



Now to the vaccine safety concerns. SARS-CoV-2 virus has a glycosylated spike protein (spicule)
that sits on the ball of the virus and it is this protein that the virus uses to bind to the ACE 2 receptor
on the surface of our respiratory epithelial cells or similar cells. This docking or binding that enlists
the help of receptor binding domains and cleavage serine protease enzymes (and a furin cleavage
site) allows for the virus to fuse its outer membrane with the host cell’s outer membrane, then gaining
entry of the virus’s mRNA genetic material into the cells’ interior. From there, the mRNA uses the host
cells’ metabolic machinery e.g. ribosomes etc. to produce a multitude of the spike proteins. As part
      Case an
of building 2:22-cv-00149-DAK-DBP
               immune response to theDocument
                                      virus, we 2-19   Filed 03/04/22
                                                are injecting the mRNAPageID.151  Page
                                                                       code to build the 5spike
                                                                                           of 30

protein (mRNA delivery platform) or the DNA code also to build the spike protein (adenovirus vector
delivery platform). This is the core theory behind the COVID-19 vaccines and how immunity will be
developed (development of neutralizing antibodies).



However, we have learnt that COVID-19 is as much a vascular illness as it is a respiratory illness and
we are seeing that many of the catastrophic symptoms have one thing in common, this being
impairment and damage to blood circulation. Researchers discovered that the SARS-CoV-2 virus
infects the endothelial cells that line the inside of blood vessels. “The concept that’s emerging is that
this is not a respiratory illness alone, this is a respiratory illness to start with, but it is actually a
vascular illness that kills people through its involvement of the vasculature”. It has been shown that
SARS-CoV-2 can directly infect engineered human blood vessel organoids in vitro (in the laboratory).



Moreover, we are now witnessing thousands of cases of adverse effects e.g. bleeding disorders,
blood clotting, and deaths, that are occurring immediately after vaccination and this close temporal
relationship has led us to believe that the vaccine’s content is precipitating this. The adverse effects
are being logged into the CDC’s VAERS database as well as the European adverse event database,
as mentioned, and we have learnt that the reporting which is voluntary, captures roughly 1% of the
events, at least in the VAERS database. This elevated under-reporting gives much concern that we
are still not getting the true picture of morbidity and mortality due to the vaccines.



With this knowledge at hand and known widely via the scientific literature, we are calling for a pause
at least in the administration of these vaccines until the safety issues are clarified. In this regard and
especially concerning the children and young adults, we are calling for a moratorium against
vaccinating them currently. There is no safety data nor evidence of support in the need to vaccinate
children. Our main concern remains that the safety analysis for these vaccines have not been done
and the required time to follow-up for this vaccine to ascertain its safety was limited to a median of 2
months in the initial trials. This is public knowledge.



The emerging data from a recent Norwegian report concluded that “the Pfizer-BioNTech covid-19
vaccine is “likely” to have been responsible for at least 10 deaths of frail elderly people in nursing
homes in Norway”. This reported evidence caused us grave concern on the functionality of the
vaccine. Similarly, Shimazawa has reported on the potential adverse events in Japanese women who
received COVID-19 vaccine ‘tozinameran’ (BNT162b2, Pfizer-BioNTech). “Reports of cerebral venous
sinus thrombosis and intracranial hemorrhage (ICH) following the administration of coronavirus
     Case
vaccines   2:22-cv-00149-DAK-DBP
         have                       Document
              raised concerns regarding        2-19 Filed
                                        their safety…in    03/04/22
                                                        Japan,       PageID.152
                                                               10 fatal             Pageand
                                                                        cases (five men  6 ofwomen)
                                                                                              30

have been reported to date. Four of the five women died of ICH and the other died of aspiration
pneumonia, whereas all five men died of causes other than stroke”.



In December 2020, Dr. J. Patrick Whelan, a pediatric rheumatologist, warned the FDA that mRNA
vaccines could cause microvascular injury to the brain, heart, liver and kidneys in ways NOT
assessed in safety trials. Whelan stated: “Is it possible the spike protein itself causes the tissue
damage associated with Covid-19? Nuovo et al (in press) have shown that in 13/13 brains from
patients with fatal COVID-19, pseudovirions (spike, envelope, and membrane proteins) without viral
RNA are present in the endothelia of cerebral micro-vessels.



Furthermore, tail vein injection of the full length S1 spike subunit in mice led to neurologic signs
(increased thirst, stressed behavior) not evident in those injected with the S2 subunit. The S1 subunit
localizes to the endothelia of microvessels in the mouse brain and is a potent neurotoxin. So
the spike S1 subunit of SARS-CoV-2 alone is capable of being endocytosed (engulfed) by ACE-2
positive endothelia in both human and mouse brain, with a concomitant pauci-cellular
microencephalitis that may be the basis for the neurologic complications of COVID-19” Whelan
further states “it appears that the viral spike protein that is the target of the major SARS-CoV-2
vaccines is also one of the key agents causing the damage to distant organs that may include the
brain, heart, lung, and kidney”. If this is so, then we have to urgently assess the impact of these
vaccines on the heart for this can be devastating if millions of vaccinated persons incur long-lasting
permanent injury to their heart vasculature or brain. Whelan argues it would be terrible if we failed “to
appreciate in the short-term an unintended effect of full-length spike protein-based vaccines on
these other organs”.



Whelan further reports that “ACE-2 receptor expression is highest in the microvasculature of the
brain and subcutaneous fat, and to a lesser degree in the liver, kidney, and heart. They have further
demonstrated that the coronavirus replicates almost exclusively in the septal capillary endothelial
cells of the lungs and the nasopharynx, and that viral lysis and immune destruction of those cells
releases viral capsid proteins (or pseudo-virions) that travel through the circulation and bind to ACE-
2 receptors in these other parts of the body leading to mannan-binding lectin complement pathway
activation that not only damages the microvascular endothelium but also induces the production of
many pro-inflammatory cytokines. Meinhardt et al. (Nature Neuroscience 2020, in press) show that
the spike protein in brain endothelial cells is associated with formation of microthrombi (clots), and
like Magro et al. do not find viral RNA in brain endothelium. In other words, viral proteins appear to
cause tissue damage without actively replicating virus”.
      Case 2:22-cv-00149-DAK-DBP
This implies that the spike, on its veryDocument
                                        own, could2-19   Filed
                                                   act like    03/04/22 causing
                                                             a pathogen, PageID.153 Page 7 morbidity
                                                                                devastating of 30

and fatality.



Suresh (2020) reported that “in addition to facilitating the membrane fusion and viral entry, the
SARS-CoV-2 spike protein promotes cell growth signaling in human lung vascular cells, and patients
who have died of COVID-19 have thickened pulmonary vascular walls, linking the spike protein to a
fatal disease, pulmonary arterial hypertension (PAH)”.



Suzuki (2021) examined SARS-CoV-2 Spike protein’s capacity to elicit cell signaling in human host
cells and the implications for possible consequences of COVID-19 vaccines. They cautioned that
while the aim is for the vaccines to para “introduce the spike protein into our body to elicit virus-
neutralizing antibodies…we note that human host cells sensitively respond to the spike protein to
elicit cell signaling…it is important to be aware that the spike protein produced by the new COVID-19
vaccines may also affect the host cells”.



Zhang (2020) examined SARS-CoV-2 binding to platelet ACE 2 and the role in enhancing thrombosis
(blood clotting) in COVID-19. They used platelets from healthy volunteers, non-COVID-19 and
COVID-19 patients, including wild-type and hACE2 transgenic mice. They reported a different
function of SARS-CoV-2 “on platelet activation via binding of Spike to ACE 2”. They reported that
SARS-CoV-2-induced platelet activation “may participate in thrombus formation and inflammatory
responses in COVID-19 patients”.



Similarly, Lei et. al. (2021) also reported that pseudovirus contributed to inflammation and damage in
both the arteries and lungs of mice exposed intratracheally. They “exposed healthy human
endothelial cells to the same pseudovirus particles. Binding of these particles to endothelial ACE 2
receptors led to mitochondrial damage and fragmentation in those endothelial cells, leading to the
characteristic pathological changes in the associated tissue”. This research raised the very serious
prospect that the spike protein on its very own, without the rest of the virus and the genome, can
cause endothelial damage “associated with COVID-19”.



With this type of adverse effects data and the research and warnings emerging from prominent
scientists that SARS-CoV-2 has serious effects on the vasculature in multiple organs, including the
brain vasculature, we strongly question why efforts by the vaccine developers and the CDC are
focused around vaccinating the entire general US population, and particularly children and young
people and those who had previously been infected with COVID-19.
     Case 2:22-cv-00149-DAK-DBP
Additionally, we feel that prior infectedDocument 2-19 Filed
                                          persons should      03/04/22
                                                         not be         PageID.154
                                                                vaccinated as there isPage 8 of 30and
                                                                                       no benefit
there is potential for serious harm. They are effectively immune and it is not a case of ‘would’ their
immunity be lasting, when we have evidence that immunity from natural exposure to respiratory virus
is so durable and long-lasting that it can last for 100 years. “These studies reveal that survivors of
the 1918 influenza pandemic possess highly functional, virus-neutralizing antibodies to this uniquely
virulent virus, and that humans can sustain circulating B memory cells to viruses for many decades
after exposure – well into the tenth decade of life”.



Moreover, given the emerging adverse events and deaths from the vaccines that are being reported,
we call urgently for an independent data safety monitoring board for the CDC’s VAERS system to
urgently review the thousands of hospitalizations and deaths after COVID-19 vaccination to assess
what ‘definitively’ caused the deaths. Yet we question whether such an independent safety
monitoring board can remain independent in this era of politicized medicine.



Specifically, the biology seems to be coming together now and we are beginning to realize that the
spike protein can potentially enter the plasma (blood stream) and systemically circulates and travels
to the spleen, bone marrow, liver, adrenal glands, with elevated concentration in the ovaries, etc. It
can potentially combine with the receptors on the platelets and the cells that line the blood vessels. It
is showing the capacity to function as an endothelia pathogen. If this is proven true, this can cause
blood platelets involved in clotting, to clump, which could create the blood clotting issues we have
already seen associated with these vaccines. This could be catastrophic. It thus can potentially
cause heart problems since it is part of the cardiovascular system. It appears that the spike protein is
what is seemingly responsible for the pathology to the cardiovascular system.



“Science has found that the spike protein itself, when it gets into the bloodstream, causes the
damage to the cardiovascular system almost entirely on its own. In fact, when the purified spike
protein is injected into the blood of experimental animals, they get all kinds of damage to the
cardiovascular system and it can cross the blood-brain barrier and cause damage in the brain”. The
incoming data is showing us the unanticipated disastrous side effects of the vaccine itself.



Dr. Bryam Bridle out of the University of Guelph (Associate Professor of Viral Immunology) and who is
a world-renowned virologist stated para “we made a big mistake, we did not realize it until now, we
thought the spike protein was a great target antigen, but we never knew the spike protein itself was a
potential toxin. By vaccinating people, we are inadvertently inoculating them with a toxin”.
     Case 2:22-cv-00149-DAK-DBP
The assumption is we are injecting theDocument
                                       COVID-192-19 Filed
                                                vaccine   03/04/22
                                                        into        PageID.155
                                                             the shoulder         Page 9 ofand
                                                                          muscle (deltoid)  30 up

until now, we felt the vaccine would behave like traditional vaccines and they do not go anywhere
else but reside in the injection site e.g. stay in our shoulder muscle. Some of the protein will travel to
the local lymph nodes to activate the immune system.



That was the assumption, but an important piece to the puzzle has recently emerged from a request
to the Japanese regulatory agency (freedom of information request). Based on this confidential
report (PHARMACOKINETICS: ORGAN DISTRIBUTION CONTINUED pages 6 & 7), we now have
information of the biodistribution in animals that shows that the mRNA lipid nanoparticles (and as
such one would extrapolate the mRNA and resulting spike protein) does not stay in the shoulder
muscle and this finding is very potentially catastrophic. Bridle stated “so is it likely that the vaccine
will remain in the shoulder muscle? The short answer: no way! And that is very worrying. The spike
protein gets into the blood, circulates systemically in the blood for several days after vaccination. It
accumulates as soon as it enters the blood and accumulates in a number of tissues such as the
spleen, bone marrow, liver, adrenal glands, and what is particularly worrying to me, it accumulates in
fairly high concentrations the ovaries.



The animal data clearly shows that it accumulates in various organs in very elevated concentrations.
As mentioned, if the protein gets into the blood stream, it can potentially circulate in the blood
systemically and potentially accumulate in tissues such as the spleen, bone marrow, liver, adrenal
glands, and ovaries. What we speculated on is now borne out by this biodistribution data. The
biodistribution data alarmingly shows that and suggests potentially then that the spike proteins in
humans does not (and will not) stay in the injection site and can travel throughout the body. This is a
major development. This requires urgent acute examination.



This additional piece to the puzzle as to explaining why we are seeing these problematic adverse
events and deaths post vaccination, in terms of whether the spike protein moves from the injection
site, is also backed up by a very recent publication that reported on 13 young healthcare workers (in
CID/Ogata et al.) who received the Moderna vaccine. Researchers found detectable levels of SARS-
CoV-2 protein in 11 of the 13 participants one day after first vaccination. “Spike protein was
detectable in three of 13 participants an average of 15 days after the first injection… for one individual
(Participant #8), spike was detected at day 29”, circulating in the blood. While nascent, this warrants
urgent clarification.
     Case
To add     2:22-cv-00149-DAK-DBP
       to this, Dr. Hamid Merchant isDocument  2-19 Filed
                                     also investigating the 03/04/22  PageID.156
                                                            biodistribution         Page 10(for
                                                                            to body tissues  of 30

instance brain) beyond the injection site for a possible explanation of the rare fatal clots formed in
the brain. “The biodistribution of ChaAdOx1 in mice confirmed the delivery of vaccine into the brain
tissues. The vaccine may therefore spur the brain cells to produce CoViD spike proteins that may
lead to an immune response against brain cells, or it may spark a spike protein-induced thrombosis.
This may explain the peculiar incidences of the fatal CVST observed with viral vector-based CoViD-
19 vaccines. It is anticipated that other vaccines using similar technology such as
AstraZeneca/Oxford (Chimp adenoviral vector), J&J/Janssen (Human adenoviral vector 26),
CanSinoBio (Human adenoviral vector 5), and Sputnik V (Human adenoviral vectors 26 and 5), may
also lead to the same safety concerns”.



Avolio et al. (pre-print) reported that the SARS-CoV-2 spike protein disrupts the cooperative function
of human cardiac pericytes – endothelial cells through CD147 receptor-mediated signalling. They
investigated the effects of the recombinant, stabilised S protein on primary human cardiac pericytes
(PCs) signalling and function and found that the recombinant S protein alone elicits functional
alterations in cardiac PCs. They concluded that the “S protein may elicit vascular cell dysfunction,
potentially amplifying, or perpetuating, the damage caused by the whole coronavirus. This
mechanism may have clinical and therapeutic implication”.



We were becoming aware some time now that the spike was a potential pathogen on its own and we
were awaiting additional research data to inform us. We have presented the data above. Now we have
clear cut evidence from the Japanese biodistribution regulatory data and the recent healthcare
worker data that the vaccine gets into the blood circulation and travels systemically. Once in the
blood stream, theoretically, the spike protein can bind to cells on our platelets and vascular
endothelium that lines our blood vessels. Again, this can cause the platelets to clump and clot and
this is why we have been seeing the many clotting disorders temporally associated with the vaccine
administration. Again, we hypothesize this is why we have been seeing the bleeding disorders that
have been reported and the heart problems. This means that the spike protein may even cross the
blood brain barrier and cause neurological damage and clots in the brain. We are very concerned and
this has to be acutely focused on urgently to ascertain the risk.



We are thus calling on regulatory agencies for safety information that could tell us:
     Casecells
i) “which 2:22-cv-00149-DAK-DBP
               are actually involved inDocument  2-19 of
                                        the production Filed
                                                         the 03/04/22  PageID.157
                                                             spike protein,          Page
                                                                            seeing that    11 ofown
                                                                                        Pfizer’s 30

study submitted to the Japanese authorities shows the deposition of vaccine nanoparticles in various
tissues and organs;



ii) whether the spike protein is gaining access to the circulatory system and, if so, for how long;



iii) whether the spike protein crosses the blood-brain barrier;



iv) whether the spike protein interferes with semen production or ovulation,



v) whether the spike protein crosses the placenta and impacts a developing baby, or



vi) whether the spike protein is excreted in the milk of lactating mothers”.



“The same information is needed for the S1 subunit of the spike protein, which is the part that binds
to ACE2 receptors; and which has also been detected in the plasma of individuals following mRNA-
1273 (Moderna) vaccination (Ogata et al., 2021)”.



We worry greatly for our children and are also calling on all regulators like the FDA to prevent the
administration of these vaccines to our children. There is no reason to vaccinate them for this
disease, none, zero! This is so serious an issue for if the spike protein can get into the blood and if
proven true that it operates as we are fearing, and based on some preliminary reporting, then we
could also have a national blood spike protein contamination catastrophe due to blood donations. We
do not want transfer of the spike in blood related transfusions, and blood transfusion regulators and
agencies such as the AABB in the US must respond to this potential risk.



What does all of this mean? What happens if these reports and the evidence we have presented
prove true and the spike protein can and does behave pathogenically? Then we have made a
catastrophic mistake with the spike protein as the key antigen for our immune system to target as it
also may be functioning as a toxin and a pathogen, with a potential capability of a long-term disaster.
The safety of the COVID-19 vaccines is in question.
      Case 2:22-cv-00149-DAK-DBP
In closing,                           Document
            we must not allow our children       2-19 Filed given
                                           to be vaccinated 03/04/22   PageID.158
                                                                  all we know aboutPage  12 of 30
                                                                                   their statistical
zero risk of becoming infected, spreading the virus, or becoming seriously ill post-infection. There is
no benefit from these vaccines and as presented, the potential can be catastrophic to our children.
We knew that our children did not have the biology to acquire infection as adults do due to the
limited expression of the ACE 2 receptor in their nasal epithelium. We also knew they were likely
heavily protected due to cross-protection from exposure to prior ‘common cold’ coronaviruses. We
thus argue that by vaccinating children who come with a ‘protective factor’ in the first place, then we
would be bypassing this natural protective barrier (low expression of or absent ACE 2 receptors in
their nasal epithelium) and injecting the potentially pathogenic spike protein directly into them where
it could cause serious harm that we are now witnessing in adults (due to the virus itself and the
vaccine’s spike protein).



We know that the ACE 2 receptor is involved throughout the body in the renin-angiotensin (RAS)
system of blood pressure and fluid balance and it is most certainly expressed at similar levels
throughout the bodies of children. “ACE 2 is widely expressed, including, in the lungs, cardiovascular
system, gut, kidneys, central nervous system, and adipose tissue”. While this must be verified, we
must operate on this assumption that ACE 2 is expressed at similar levels in children systemically
throughout the body as in adults. That it functions in a similar manner as in adults.



We must therefore conclude, and based on the preliminary information presented above, that by
bypassing this natural protection due to limited ACE 2 expression nasally (Patel, Bunyavanich) and
based on injecting into the deltoid muscle, we would be potentially setting up our children for
catastrophe. If this spike protein is deleterious on the platelet and vascular endothelium (as we fear it
could be based on emerging and still to be clarified, yet potentially credible indications), and if it can
travel systemically as is being now reported, then we could doom our children to devastating
effects.



What this means is that our children who have been largely spared from COVID-19 thus far in terms
of infections and serious outcomes, may now become victim to severe outcomes in levels we have
seen in adults across the last 15 months, due to a push to vaccinate them. How low is the risk? In
Canada as an example, there have been approximately 260,000 confirmed SARS-CoV-2 infections in
persons under 19 years of age. Of these, 0.48% (1 in 208) were hospitalized, and 0.06% were
admitted to ICU. Reporting indicates that 0.004% died (1 in 23,600). We know that seasonal influenza
is associated with more severe illness than COVID-19 for our children. In the US, CDC reporting
suggests that approximately 0.04% of persons up to 17 years of age have died from COVID-19.
    Case
Based     2:22-cv-00149-DAK-DBP
      on reporting,                 Document
                    the Pfizer BioNTech’s study2-19  Filed2,260
                                                involved    03/04/22  PageID.159
                                                                children           Page 13
                                                                         and adolescents   of 30
                                                                                         who  were
12-15 years of age. From these, 1,131 received the vaccine intervention. We argue that this is a very
small number of adolescents and does not permit any optimal evaluation of rare but potentially
serious side-effects, such as effects that may happen in only 1:5,000 adolescents. Moreover, the
participants were followed-up for at most 2 months and this cannot allow the adequate duration of
follow-up needed to assess safety of the vaccine. Thus, as we speak, we have no long-term safety
data and do not know how this vaccine (or others) will behave long-term.



We say ‘NO’. No vaccine. There is no data to support this, yet only potential for downsides. In terms
of our children, it is beyond establishing whether the risk is real. This demand to stop any vaccination
of our children is based on no risk and thus no benefit. As stated earlier, we call for an immediate
pause to the vaccinations and immediate assessment of the risks (across the board), so as to confirm
whether or not the adverse effects and deaths being reported are directly linked to the vaccines. We
have very strong temporal associations but we need this validated. This will greatly allay the
concerns that have emerged in the public due to the troubling adverse effect and death reports.



As parents, whether American, Canadian, British, or any parent globally, we absolutely must question
the fast-tracked and undiscerning, indiscriminate vaccination of our children and adolescents with a
vaccine whereby the vitally important biodistribution, pharmacokinetic, and safety data on the SARS-
CoV-2 spike protein, is absent. We do not have this information and it is imperative that this be
collected and made known to all, given the preliminary information we have shared and the concerns
that we have raised (e.g. the deposition of vaccine nanoparticles in various tissues and organs).



To close, the CDC, NIH, Dr. Anthony Fauci of the NIAID, Dr. Rochelle Walensky who heads the CDC,
the vaccine manufacturers and all involved, have failed to prosecute their case on why our children
are to be vaccinated with these vaccines given their near absent risk and the many safety concerns
that have emerged. To move forward would be reckless and very dangerous to our children and we
raise serious concerns about the safety of these vaccines. We have presented our case above and
ask your consideration of the facts.



Note that views expressed in this opinion article are the writer’s personal views and not necessarily
those of TrialSite, Inc.




                                               Related
     Case 2:22-cv-00149-DAK-DBP Document 2-19 Filed 03/04/22 PageID.160 Page 14 of 30




  Deutsche Telekom             NIH Awards $11.3          COVID-19 Research            US Doctors Failed To
 Wins WHO Contract to           Million Grant to         Nearly All Conducted          Treat Patients With
 Develop Global Digital        Continue Funding            in Rich Nations            Early COVID—How It
  Vaccine Certificate             Center for                                               Happened
                              Neurodegeneration
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    external authors         Liver DNA In Vitro?          Approved in India &        Reduction of COVID-19
                                                             Israel Bahrain
                                                         Indonesia & Thailand:
                                                           No Mention in Big
                                                                 Media

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Categories: News, Opinion Editorial

Tagged: COVID-19, Endothelial




             PaulAlexander
             Paul E. Alexander received his bachelor’s degree in epidemiology from McMaster University in
             Hamilton, Ontario, a master’s degree from Oxford University, and a PhD from McMaster University’s
             Department of Health Research Methods, Evidence, and Impact.




Responses
Case 2:22-cv-00149-DAK-DBP Document 2-19 Filed 03/04/22 PageID.161 Page 15 of 30


           allenshoff




Write a response...




                                                                                    Publish




           EastCoastDigger                                                  Report Comment
           July 18, 2021

           This article is genuinely needed. Thank you, so much. It supports what many
           other doctors have begun to call out, such as Dr. Charles Hoffe from Lytton, BC
           Canada. He was suspended from admitting privileges at his local hospital after
           raising these same concerns in a video interview recently. What was his crime?
           He questioned the prevailing narrative.


           Dr. Hoffe’s conclusion was similar, and was based on his actual experiences
           treating patients with adverse effects of the vaccines. He used a D-dimer test to
           verify if blood clots had been occurring in patients, when other tests saw no
           major clotting. The D-dimer levels he was seeing indicated massive clotting
           happening within patients’ bodies, but on a microscopic level in their capillaries.
           He reasoned that as the vaccine’s nano lipo particles broke down, releasing the
           mRNA strands into the capillary endothelium, the endothelial cells were
           themselves producing spike proteins, which bound to the walls of the capillary
           endothelial cells, and were interpreted as damage by blood platelets, which
           began clotting.


           This could potentially lead to pulmonary artery hypertension, as the heart tries
           to pump blood into the damaged capillaries, and fails. Pulmonary artery
           hypertension is a serious condition, for which there is no real treatment, and will
           end in death in 2-3 years. The potential risk here is enormous, and completely
           unaccounted for in any clinical trials, because they assumed the nano lipo
           particles would remain in the deltoid muscle where they were injected – in
           reality, only 25% do.
Case 2:22-cv-00149-DAK-DBP     Document
           The fact that the best        2-19
                                  argument     Filed 03/04/22
                                           detractors           PageID.162
                                                      have is that           Page 16
                                                                   “Paul Alexander   of 30
                                                                                   worked
           in the Trump administration” only shows how completely disconnected from
           actual scientific inquiry they are. The concerns raised are valid and based on
           serious consideration of all that we know and have been able to prove regarding
           how SARS-CoV-2 spike proteins interact with endothelial cells – read:
           https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7758180/ – i.e. “It is concluded
           that ACE2+ endothelial damage is a central part of SARS-CoV2 pathology and
           may be induced by the spike protein alone.” (Annals of Diagnostic Pathology
           2021 Apr; 51: 151682.; Nuovo, Magro, et al.)


           This is too important of a question to sacrifice on the altar of politics – it raises
           serious questions that could impact hundreds of millions of people who have
           already been vaccinated without informed consent and absent any long term
           clinical trials. After if people really want to bring Trump into this: Trump
           promotes the vaccines. This is not a question of politics. This is a question of
           medical science, and to simply censor or dismiss those who are raising serious
           concerns is putting millions of lives in jeopardy.


           We may have directly exposed hundreds of millions of people to a potentially
           fatal long term adverse effect in the rush to create a politically expedient
           vaccine for a virus with a 0.4% ARR. That’s catastrophically irresponsible. These
           claims need to be taken seriously, discussed openly, NOT suppressed, and then
           acted upon.


           As someone who lost his otherwise healthy cousin to sudden heart failure (likely
           related to inflammatory cardiomyopathy) five days after he took the second
           Pfizer shot, thank you for publishing this!! Keep up the fight!!!

           Reply




           asmajor46                                                           Report Comment
           June 23, 2021

           Clearly those who are picking apart this piece are unfamiliar with Dr. Robert
           Malone’s (the inventor of mRNA technology – 1988) own concerns about the
           biodistribution of the S-protein in the human body that received the
           experimental product as an injection. You can see/hear him here:
           https://youtu.be/Du2wm5nhTXY I also think that those “railing” against this
           information are people who have taken the shot and now realize that they can’t
           “untake” it. They are living in a state of “agitated denial” because they realize
           their own bodies are producing spike proteins by the millions and hope that they
Case 2:22-cv-00149-DAK-DBP    Document
           don’t begin to demonstrate the2-19 Filed
                                          adverse   03/04/22
                                                  effects thesePageID.163   Page 17
                                                                shots are causing    of 30
                                                                                  in 100’s
           of thousands around the world. Didn’t you all know that you are the Phase III
           trial?

           Reply




           Frances_Lilian_Wellington                                        Report Comment
           June 8, 2021

           Thank you Paul and Howard. Those who criticise your thought processes have
           not walked in my shoes. The shock of this debacle gave me a stroke on 9th May
           2020. Yet I am still here right now to tell you both that you are *on point*. Carry
           on. I support your process. Do not waver.

           Reply




           bdmesq                                                           Report Comment
           June 5, 2021

           Why not a single word about the Israeli experience [even if I have my own
           doubts, I am an MD in Israel, I have not been vaccinated [age 78]
           Any commentary?

           Reply




               Frances_Lilian_Wellington                                    Report Comment
               June 8, 2021

               I would be pleased to hear of your experience, your commentary on what
               has transpired from your point of view… if you would like to share here, with
               me. You have my attention.

               Reply




           rachell                                                          Report Comment
           June 3, 2021
Case 2:22-cv-00149-DAK-DBP    Document 2-19
           Thank you for a comprehensive     Filedwritten
                                         and well  03/04/22   PageID.164
                                                          overview of most Page
                                                                           of the18 of 30
           legitimate concerns for all of the experimental COVID vaccines. I totally agree
           that we should not be vaccinating our low risk healthy population especially the
           younger generation. It’s senseless to subject our young people to the potential
           risks of detrimental LNP and synthetic spike protein induced autoimmune
           diseases. Natural immunity among the young and healthy will produce long
           lasting herd immunity for the population. I hope as more and more independent
           research studies are being conducted, the truth will become more apparent.
           The successful use of ivermectin in combating COVID-19 in many developing
           countries will hopefully help reduce the need for mass vaccination. Don’t be
           discouraged by those who identify themselves as pro-science. Many are merely
           going along with the mainstream narratives without actually understanding how
           researches are being conducted and how data are collected and analyzed. It’s
           just unfortunate.

           Reply




           Deleted User                                                   Report Comment
           June 3, 2021

           By the way, I started reading this article to understand the science behind the
           “endothelial pathogen” claim. Instead, I was greeted with pretense. I decided
           I’m not going to be suckered into reading political diatribe just to get to the
           substance. I hope that TSN would set standards for authors that clearly
           distinguish op-ed from science.

           Reply




           DaleC                                                          Report Comment
           June 2, 2021

           The article seems “high spin” to me. I’m not saying there’s absolutely nothing to
           any of it, but I’m saying it’s making bold statements while not admitting any
           weaknesses in the positions presented (and there are many). For instance, it
           annoys me that they attempt to bash the relative risk and quote an absolute risk
           number without a temporal component. The absolute risk would depend upon
           modeling the entire pandemic, start to finish, not some arbitrary case where
           only a portion of the population had been exposed. There’s also statements like
           “This implies that the spike, on its very own, could act like a pathogen, causing
Case 2:22-cv-00149-DAK-DBP    Document
           devastating morbidity         2-19 Ah,
                                 and fatality.” Filed
                                                   no.03/04/22    PageID.165
                                                       If it were causing      Page 19 of 30
                                                                          “devastating”
           effects, then there would be devastating statistics. People aren’t dropping like
           flies after getting the mRNA vaccines.


           There’s a lot to agree with in the article, though. Who doesn’t want to see
           analysis of where the spike proteins go in the body, and how long they hang
           around. Yes, sure, that would be great information to have.


           And as to vaccinating children, it’s all about risk vs reward. If the spike protein of
           the mRNA vaccines is troublesome for the body to deal with, what about the
           spike protein from a wild-type infection? Would that pose the same problems? If
           not, why not? Insinuating that the Sars-Cov-2 virus bounces-off children
           without any replication in the body is insinuated, but that’s not proven. It is
           evident that children don’t allow the level of replication, and they don’t get the
           endothelial damage, but they still have to deal with the virus. By “deal with”, I
           mean they attack it and break it down, so spike proteins will be floating around
           in their bodies, and probably a lot more in terms of numbers compared to a
           vaccination.


           Lots of holes in the argument made in this article, and it’s obvious there’s
           cherry-picking and ignoring the logical and obvious counterpoints.


           I’m glad that Trial Site News allowed the article. Someone that’s well-informed
           should pick this article apart and point out all of the places where the logic and
           conclusions break-down. This is the way it’s “supposed to work”. Pointing out
           that an author has bias is one thing, but that’s not sufficient. What are these
           guys saying that’s provably unaligned with the majority of experts in the field? I
           can see a few, but I’m no expert. I hope we get a response to this article that
           calls them out for the one-sided view.

           Reply




               Deleted User                                                   Report Comment
               June 3, 2021

               Paul Alexander


               The medical journals are blocking you? That only adds to my concern.
               Perhaps that might give you pause for reflection.
Case 2:22-cv-00149-DAK-DBP    Document
               You may have a point     2-19 Filed
                                    somewhere      03/04/22
                                              buried           PageID.166
                                                     in all that            Page
                                                                 you spew, but it’s20 of 30
                                                                                    going
               to fall on deaf ears until you learn to temper your approach and stop trying
               to look like the “smartest guy in the room “. You don’t get that title until
               you’ve earned it. Go get some funding and prove your suspicions. You know
               the drill…they call them hypotheses.

               Reply




           cdohrnphd                                                       Report Comment
           June 2, 2021

           Based on this article, I will be canceling my TrialSiteNews feed. This is the
           second article that I’ve seen from these authors that is not fact-based. Also,
           Dara had his license revoked, Tannenbaum is a dentist, and Alexander is a
           former scientist with the previous administration, which denied science.

           Reply




           Deleted User                                                    Report Comment
           June 2, 2021

           Paul Alexander worked in the US working in the Trump administration under
           Caputo. (for me it raises an eyebrow quite high). I don’t know why, but his op-
           eds seem unnecessarily inflammatory.


           Then there is this quotation attributed to the Toronto Globe and Mail and posted
           on Wikipedia:
           Alexander also asserted that he was better suited than CDC scientists to assess
           data, saying: “None of those people have my skills. I make the judgment
           whether this is crap.”


           The aggressive language he uses here makes me suspicious that his agenda
           has gone beyond scientific to political. If Paul Alexander wants to publish
           science-based articles, he knows how to do that. He can argue with his peers.
           In the meantime, I will skip his rants in favor of the CDC and the NIH.

           Reply




               cdohrnphd                                                   Report Comment
Case 2:22-cv-00149-DAK-DBP
               June 2, 2021 Document 2-19 Filed 03/04/22 PageID.167 Page 21 of 30

             Agree and am not going to read TrialSiteNews anymore, since I have
             complained about these authors previously to no avail.

             Reply




             PaulAlexander                                                Report Comment
             June 2, 2021

             Come on, you know the medical journals are blocking us, you know the
             game, denied early treatment, scrubbed our research, reject good research,
             its all politics now, the medical publishing should be shut down now, the
             editors, all games and politics now…LANCET, NEJM, JAMA…etc. they have
             lost all credibility…they pick and chose what aligns with their politics and
             who gives them grants…only BMJ has cred left and thanks to folk like
             Doshi…brave and a real scientist….the entire research community now is a
             fraud, lost all credibility, sold out to the grants and who gives them money. It
             is no longer about science, just politics. so we write here and it is even
             better. The lay person has turned out more informed and smarter than the
             so called ‘academic class’. Also, you should know better to not believe the
             crap the media writes. My pay stubs in the US govn said ‘Department of
             Defense’….ahhhhhh, I guess the media did not tell you that one…see you will
             never ever know ‘all’. there is a reason for that. go run around now and
             check…check if its HHS or Defense ha ha ha…like you know anything about
             me and who I worked for and what I did…and get a fit and have your chats.
             And yes, I did say the technical skills in evidence based medicine I gained at
             McMaster is the best in the world…if not the best, near there, I say ‘best’. it
             is and I did my doctorate under the founder of EBM and I research with the
             top researchers in the world. Luckily and a privilege for me. Huge. Brightest
             folk. You know nothing, zero about which you speak, uninformed and spout
             out what the vile media tells you. And your ‘pettiness’ shines through and
             your venom and hatred. Stay in your little uninformed world though. I did,
             yes, I told the media freak guy my thoughts but he wrote lies, thats all they
             do, you think they wont lie and they just do that, its all they know to get a
             story…do you ever think anything the media writes is the truth? Come on. I
             did tell him the folk I dealt with at CDC etc. were inept and unskilled and
             nonsensical. Look around you, when last did they put out anything that
             made sense and did not need to be retracted or was not ridiculed by senior
             folk at Johns Hopkins like Makary etc. The failed initial testing by the CDC
             had the US flying blind for 5 weeks and is why today there are the deaths
             and infections still. The US will not recover from what the CDC did in the
Case 2:22-cv-00149-DAK-DBP      Document
               first weeks with its botched2-19   Filed
                                            testing,    03/04/22
                                                      what        PageID.168
                                                           a disaster           Page
                                                                      they caused the22 of 30
                                                                                     virus to
               seed on the eastern and western coasts. An inept agency with highly paid
               ‘so called’ scientists. The marque agency CDC ‘should be’, and ‘was’, sadly it
               is not today. We hope one day it will return. I hope for I did admire it. They,
               CDC, NIH, FDA etc. have failed the American people. Failed them and
               partook in a lie.


               So hurry up, stand in line, and get your shots and while there, get some in
               your bum, get 4 or 8…get 10 per arm. ha ha ha, why I laugh is because I
               could picture you in your crocks in mummy’s basement typing away
               drooling, have not showered in a month. I ‘get’ you and your hatred. You just
               could not read the science and see that it was based on helping, informing
               and we said just that. We are trying to help, thats all, we only wish to help for
               all that was done has hurt people and killed people…we will continue to.


               Stay where you are.

               Reply




                   Nathaniel                                                   Report Comment
                   June 3, 2021

                   “the entire research community now is a fraud”


                   “An inept agency with highly paid ‘so called’ scientists”


                   “And your ‘pettiness’ shines through and your venom and hatred”


                   “get 10 per arm. ha ha ha, why I laugh is because I could picture you in
                   your crocks in mummy’s basement typing away drooling, have not
                   showered in a month”.


                   You should peer review the above rant, see how it gets received.
                   Seriously, you want to be taken seriously and then actually publish a
                   reply like that?


                   If you have the research and evidence, let that do the legwork, rather
                   than sounding like a Twitter troll, throwing ad hominem attacks at
                   everyone and anything that doesn’t agree with you. It’s completely
Case 2:22-cv-00149-DAK-DBP      Document
                  childish, entirely      2-19 Filed
                                     unnecessary     03/04/22
                                                 and puts       PageID.169
                                                          in question        Pageof
                                                                      the veracity 23 of 30
                   anything you say.


                   I’ll pass it on to the “so called” researchers I know at ICH and see what
                   they make of it.

                   Reply




                   Deleted User                                             Report Comment
                   June 3, 2021

                   The medical journals are blocking you? That only adds to my concern.
                   Perhaps that might give you pause for reflection.


                   You may have a point somewhere buried in all that you spew, but it’s
                   going to fall on deaf ears until you learn to temper your approach and
                   stop trying to look like the “smartest guy in the room “. You don’t get
                   that title until you’ve earned it. Go get some funding and prove your
                   suspicions. You know the drill…they call them hypotheses.

                   Reply




           Deleted User                                                     Report Comment
           June 1, 2021

           Thank you, Paul Elias Alexander, PhD; Parvez Dara, MD, MBA; Howard
           Tenenbaum, DDS, PhD

           Reply




           Square-James                                                     Report Comment
           June 1, 2021

           19 days after my second Moderna jab I had tightness in my chest that required
           bed rest. Thinking this might be vaccine related, I started Pepcid AC, Alive, and
           aspirin. I felt better almost immediately, and proving an inflammation related
           cause. This thing could have ended badly if I did not understand vaccine caused
           inflammation angle.

           Reply
    Case 2:22-cv-00149-DAK-DBP Document 2-19 Filed 03/04/22 PageID.170 Page 24 of 30




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  Case 2:22-cv-00149-DAK-DBP Document 2-19 Filed 03/04/22 PageID.174 Page 28 of 30




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